     Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 1 of 208




                            EXHIBIT LIST


EXHIBIT A:
………………………………………............



EXHIBIT B:
…………………...………….......................


EXHIBIT C:
………………………………………………


EXHIBIT D:
………………………………………...........


EXHIBIT E:
………………………………………………


EXHIBIT F:
………………………………………….......


EXHIBIT G:
………………………………......................


EXHIBIT H:
…………………………………..................




                                Page i of ii
     Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 2 of 208




EXHIBIT I:
……………………………………………                       CPR Report: Comal County Sheriff’s
                                        Office, Incident 8/25/2021

EXHIBIT J:
……………………………………………..


EXHIBIT K:
…………………………………………….


EXHIBIT L:
…………………………………………….


EXHIBIT M:
……………………………………………. Eric Douglas Clark’s Letter
                   Re: Other’s Leaving the Capitol
                   Peacefully Because of Evans

EXHIBIT N:
……………………………………………. John Sharp’s Character Letter

EXHIBIT O:
……………………………………………. Jan Sharp’s Character Letter

EXHIBIT P:
…………………………………………….




                               Page ii of ii
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 3 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 4 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 5 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 6 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 7 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 8 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 9 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 10 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 11 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 12 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 13 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 14 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 15 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 16 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 17 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 18 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 19 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 20 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 21 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 22 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 23 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 24 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 25 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 26 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 27 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 28 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 29 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 30 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 31 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 32 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 33 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 34 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 35 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 36 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 37 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 38 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 39 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 40 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 41 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 42 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 43 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 44 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 45 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 46 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 47 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 48 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 49 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 50 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 51 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 52 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 53 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 54 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 55 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 56 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 57 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 58 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 59 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 60 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 61 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 62 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 63 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 64 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 65 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 66 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 67 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 68 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 69 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 70 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 71 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 72 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 73 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 74 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 75 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 76 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 77 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 78 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 79 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 80 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 81 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 82 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 83 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 84 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 85 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 86 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 87 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 88 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 89 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 90 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 91 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 92 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 93 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 94 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 95 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 96 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 97 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 98 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 99 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 100 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 101 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 102 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 103 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 104 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 105 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 106 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 107 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 108 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 109 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 110 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 111 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 112 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 113 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 114 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 115 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 116 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 117 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 118 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 119 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 120 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 121 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 122 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 123 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 124 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 125 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 126 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 127 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 128 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 129 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 130 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 131 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 132 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 133 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 134 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 135 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 136 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 137 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 138 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 139 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 140 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 141 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 142 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 143 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 144 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 145 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 146 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 147 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 148 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 149 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 150 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 151 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 152 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 153 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 154 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 155 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 156 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 157 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 158 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 159 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 160 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 161 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 162 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 163 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 164 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 165 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 166 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 167 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 168 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 169 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 170 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 171 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 172 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 173 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 174 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 175 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 176 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 177 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 178 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 179 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 180 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 181 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 182 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 183 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 184 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 185 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 186 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 187 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 188 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 189 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 190 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 191 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 192 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 193 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 194 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 195 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 196 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 197 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 198 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 199 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 200 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 201 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 202 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 203 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 204 of 208




                        EXHIBIT P




                       Metcalf & Metcalf, P.C.
                          99 Park Avenue, 6 Floor
                                          h



                             New York, NY 10016
                             646 253 0514 (Phone)
                              646 219 2012 (Fax)
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 205 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 206 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 207 of 208
Case 1:21-cr-00225-DLF Document 62-2 Filed 09/13/22 Page 208 of 208
